           Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 1 of 6




UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
                                            :
HKL Capital LLC,
                                            :
                                            : Civil Action No.: ______
                     Plaintiff,
      v.                                    :
                                            :
Enagic USA, Inc.                            : COMPLAINT
                                            :
                                            :
                     Defendant.
                                            : August 28, 2020
                                            :
                                            :

      For this Complaint, the Plaintiff, HKL Capital LLC, by undersigned counsel,

states as follows:

                                    JURISDICTION

      1.      Plaintiff, HKL Capital LLC (“HKL” or “Plaintiff”), brings this action for

damages resulting from the illegal actions of Enagic USA, Inc. (“Enagic” or

“Defendant”). Defendant negligently, knowingly, and/or willfully placed

automated calls to Plaintiff’s cellular telephones in violation of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

      2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.

                                       PARTIES

      3.      HKL Capital LLC (“Plaintiff”), is a Connecticut business entity, and is

 a “person” as defined by 47 U.S.C. § 153(39). The following individuals opted

 out of the class settlement on November 14, 2019 and sold their claims to HKL:

        •    Karlin Williamson;
           Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 2 of 6




           •   Danny Cochran;

           •   Peter Farsaci;

           •   Baltazar Fuentes;

           •   Joan Hickman;

           •   Michael Haerting;

           •   Gary Furches;

           •   Robert Reibstein;

           •   Donna Narducci;

           •   Suzanne Leonard;

           •   Michael Kirby;

           •   Henry Adam Lopez;

           •   Richard Andrews;

           •   Lavinia Bortis;

           •   Eliyahu Yaar;

           •   Olga Dubinsky;

           •   Shearra Hardwick;

           •   Thomas Locke;

           •   Erza Henry;

           •   Mark-Paul Goodman;

           •   Charlie Lopez.

      4.        Defendant Enagic USA, Inc. (“Enagic”), is a nationwide distributor of

alkaline water filtration systems, and is a “person” as defined by 47 U.S.C. §

153(39).

                                            2
           Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 3 of 6




             THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      5.      The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      6.      47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

              (A)    to store or produce telephone numbers to be
              called, using a random or sequential number generator;
              and

              (B)   to dial such numbers.

      7.      47 U.S.C. § 227(b)(1)(A)(iii) prohibits any call using an ATDS or an

artificial or prerecorded voice to a cellular phone without prior express consent

by the person being called.

                                        FACTS

      8.      Enagic is a nationwide distributor of alkaline water filtration systems.

In order to promote its services, Enagic operates an aggressive contact schedule

which bombards unsuspecting consumers, with whom it has no relationship, with

robocalls and prerecorded messages.

      9.      Enagic has repeatedly placed telemarketing calls using an automatic

telephone dialing system to Plaintiff’s cellular telephones.

      10.     Each of the Plaintiffs’ number were and are assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

      11.     At all times mentioned herein, Enagic called Plaintiffs’ cellular

telephone using an “automatic telephone dialing system” (“autodialer”) as

defined by 47 U.S.C. § 227(a)(1). When Plaintiffs answered calls from Enagic, they

were often met with a period of silence before either being connected with a live

                                            3
         Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 4 of 6




representative or hearing a prerecorded message that instructed the called party

press a button on his telephone for further information. This is indicative of

Enagic’s use of a “predictive dialer.”

      12.     The Federal Communications Commission has defined ATDS under

the TCPA to include “predictive dialers.” See In the Matter of Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, 23

F.C.C.R. 559, at ¶ 12, 2008 WL 65485 (F.C.C.) (2008).

      13.     In addition, upon information and belief, the hardware and software

combination utilized by Enagic has the capacity to store and dial sequentially

generated numbers, randomly generated numbers or numbers from a database of

numbers.

      14.     Enagic did not have any of the Plaintiffs’ prior express written

consent to place automated telemarketing calls to Plaintiffs on their cellular

telephones.

      15.     Enagic did not have any of the Plaintiffs’ prior express consent to

place calls to Plaintiffs which played prerecorded messages when those calls

were answered.




                                          4
           Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 5 of 6




                                 COUNT I
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                          47 U.S.C. § 227, et seq.

      16.     Plaintiffs repeat and reallege the above paragraphs of this Complaint

and incorporate them herein by reference.

      17.     Defendant negligently placed multiple automated telemarketing calls

to cellular numbers belonging to Plaintiffs without their prior express written

consent.

      18.     In addition, Defendant negligently placed multiple calls to cellular

numbers belonging to Plaintiffs which played a prerecorded message when those

calls were answered without Plaintiffs’ prior express consent.

      19.     Each of the aforementioned calls by Defendant constitutes a

negligent violation of the TCPA, 47 U.S.C. § 227(b)(1)(A).

      20.     Plaintiffs are entitled to an award of $500.00 in statutory damages for

each call placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

                                      COUNT II

  KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
              PROTECTION ACT - 47 U.S.C. § 227, et seq.

      21.     Plaintiffs repeat and reallege the above paragraphs of this Complaint

and incorporate them herein by reference.

      22.     Defendant knowingly and/or willfully placed multiple automated

telemarketing calls to cellular numbers belonging to Plaintiffs without their prior

express written consent.

      23.     In addition, Defendant knowingly and/or willfully placed multiple

calls to cellular numbers belonging to Plaintiffs which played a prerecorded


                                          5
           Case 3:20-cv-01269-VAB Document 1 Filed 08/28/20 Page 6 of 6




message when those calls were answered without Plaintiffs’ prior express

consent.

      24.     Each of the aforementioned calls by Defendant constitutes a

knowing and/or willful violation of the TCPA, 47 U.S.C. § 227(b)(1)(A).

      25.     As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiffs are entitled to an award of treble damages up to $1,500.00 for

each call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

U.S.C. § 227(b)(3)(C).

                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant:

              A. Statutory damages of $500.00 for each violation determined to be

                 negligent pursuant to 47 U.S.C. § 227(b)(3)(B);

              B. Treble damages for each violation determined to be willful and/or

                 knowing pursuant to 47 U.S.C. § 227(b)(3)(C);

              C. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: August 28, 2020
                                        Respectfully submitted,

                                        By    /s/ Sergei Lemberg

                                        Sergei Lemberg, Esq.
                                        LEMBERG LAW, L.L.C.
                                        43 Danbury Road, 3rd Floor
                                        Wilton, CT 06897
                                        Telephone: (203) 653-2250
                                        Facsimile: (203) 653-3424
                                        Attorney for Plaintiff
                                          6
